Case 2:11-cv-00974-PSG-JC Document 103-2 Filed 08/04/17 Page 1 of 2 Page ID #:1283
                                                                                           EXHIBIT

   Date:    June 22, 2016 8:22 AM
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   Cc:      Jennifer Klar <JKlar@RelmanLaw.com>, John Relman <JRelman@RelmanLaw.com>
   Subject: Update on LA Accessibility Matters

   All:

   We write with an important update and to identify a key decision-point for the FHC.

   The City Attorney’s office has told us that – pursuant to the instructions of the City Council - it is prepared
   to sign and submit the Settlement Agreement to Judge Olguin only after FHC provides a response to a
   question the City Council has asked related to the False Claims Act case. The question is as follows:
   Would the FHC oppose a decision by the U.S. Department of Justice to take into account the terms of the
   504 settlement in its resolution of the False Claims Act case?

   Clearly, linking these two cases in any way was not something that the City or we agreed to in the April
   2016 Term Sheet, and was not part of the negotiated final Settlement Agreement. But apparently some
   members of the City Council have insisted on obtaining this assurance for political reasons as a condition
   for moving forward on the 504 settlement. We, like you, are frustrated by this new request, but believe
   there is a simple response that will allow the 504 matter to reach immediate final resolution and not
   compromise any interest you have in the False Claims Act case.

   We recommend that the FHC respond that it will not oppose a DOJ decision to take settlement of the 504
   case into account. As a matter of law and federal government policy, DOJ has the right to consider any
   relevant circumstance it deems appropriate in resolving the False Claims Act case (including the terms of
   the 504 settlement). This is DOJ’s right, and we cannot change it whether we like it or not. If a final
   settlement is reached in the False Claims Act case, DOJ will still be required to ask the FHC whether it
   objects to the terms of the False Claims Act settlement as not being “fair, adequate and reasonable under
   all the circumstances.” If you decide it is not fair and reasonable, you would still have the right to object
   and seek a hearing in Court. DOJ will only seek FHC’s opinion in the event it reaches a False Claims Act
   settlement with the City, and if it reaches a settlement it must ask whether you will object. Thus, agreeing
   not to object to the fact that DOJ is simply taking the settlement into account gives up nothing. DOJ can
   take the 504 settlement into account whether we like it or not, and saying you will not object to its doing
   so still leaves you with all of your rights to object should you decide to do so once you see the final terms
   of the False Claims Act final settlement.

   Telling the City the FHC will not object to DOJ taking the 504 settlement into account will satisfy whatever
   political concern is being raised by the City Council, will allow the 504 settlement to move forward to
   Judge Olguin for immediate approval, and leaves fully intact all of your rights to object in the False Claims
   Act case.

   The City is ready to reach immediate closure on the 504 settlement once this question is answered.
   Specifically, that means the settlement will move forward to final approval and submission to the Court for
   entry of the Settlement. We cannot predict what will happen if you don’t provide this assurance. As you
   know, no settlement is final without City Council approval. If there is no approval, the case would return
   to litigation. We are happy to discuss any of this with Odion, David, the Board, and the Executive Director
   and staff of FHC (or any combination thereof).

   In her email of June 15, Sharon suggested that she would like FHC to talk with Lisa Palombo regarding
   this issue and asked for her contact information. We provided that information, and also inquired of Lisa
   concerning her availability. She suggested that any call should also include Eric Schmelzer, a DOJ
   attorney in Washington, D.C. Lisa offered times for the morning of Monday June 20, and we passed that
Case 2:11-cv-00974-PSG-JC Document 103-2 Filed 08/04/17 Page 2 of 2 Page ID #:1284



   information on to Sharon. In response to Sharon’s instructions, we informed Lisa that FHC was
   unavailable to speak during that time period. In order to facilitate that call, I would ask that FHC provide
   its availability, and we can be in touch with Lisa to confirm a time that works for all relevant parties.

   Kindly let us know how you would like to proceed.

   Best wishes.

   Jennifer Klar
   Michael Allen

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